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Per O cele

UNITED STATES DISTRICT COURT UN-Sealed j Jey/i
SOUTHERN DISTRICT OF TEXAS Public and unofficial staff access
to this instrument are |
HOUSTON DIVISION |

prohibited by court order.

UNITED STATES OF AMERICA
CRIMINAL NO:

H 08 23¢

OSCAR NAVA-VALENCIA
aka Lobo, aka Tierno

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ORDER FOR ISSUANCE OF BENCH WARRANT

A CRIMINAL INDICTMENT has been returned against the defendant listed

below.

It is ORDERED that a warrant be issued for the arrest of said defendant. Upon arrest and
appearance, a judicial determination shall be made as to detention or release on conditions. The

United States Government recommends to the Court the following:

Defendant

OSCAR NAVA-VALENCIA
aka Lobo, aka Tierno
DETENTION

L] RELEASED ON CONDITIONS

“] APPEARANCE BOND IN THE
AMOUNT OF: $

t
SIGNED at Houston, Texas, on Cpt am { , 7? $

UNITED STATES MAGISTRATE JUDGE

